13-23532-rdd         Doc 82       Filed 03/24/15 Entered 03/24/15 22:26:05         Main Document
                                               Pg 1 of 12


KRISS & FEUERSTEIN LLP
360 Lexington Avenue, Suite 1200
New York, New York 10017
(212) 661-2900
Jerold C. Feuerstein, Esq.
Jason S. Leibowitz, Esq.
jfeuerstein@kandfllp.com
jleibowitz@kandfllp.com
Attorneys for Eastern Savings Bank, fsb
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------x

 In re:                                                       Chapter 11
                                                              Case No. 7:13-23532-rdd
 Rogan RR LLC,
                                                              Hon. Robert D. Drain
                                                              United States Bankruptcy Judge
                          Debtor.
 ---------------------------------------------------------x

    APPLICATION OF EASTERN SAVINGS BANK, FSB FOR THE ENTRY OF AN
 ORDER PURSUANT TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 2004 &
 9016 DIRECTING THE PRODUCTION OF DOCUMENTS AND ORAL DEPOSITIONS

          Eastern Savings Bank, fsb (“Eastern”) a secured creditor of Rogan RR LLC (the “Debtor”),

by and through its counsel, Kriss & Feuerstein LLP, respectfully submits this application (the

“Application”) for the entry of an Order, pursuant to Rules 2004 and 9016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing and directing the examination of the

Debtor, and its tenants, including without limitation, Railroad Transfer, Inc. (“RTI”) and Primem

Tristate, LLC (“PTL”) and Quality Materials (“Quality” and together with RTI and PTL, the

“Tenants”), under oath, and the production and turnover of certain records and documents that are

in the Debtor’s possession, custody or control. In support thereof, Eastern respectfully sets forth

and represents as follows:

                                     PRELIMINARY STATEMENT

          1.     As the Court is well aware, since the time this case was filed more than five-hundred

and fifty days ago on September 13, 2013 (the “Petition Date”), Eastern has been attempting (but
13-23532-rdd      Doc 82     Filed 03/24/15 Entered 03/24/15 22:26:05             Main Document
                                          Pg 2 of 12


unable) to gather answers to very basic questions about the Debtor and its operations at the Property.

       2.      Nevertheless, Eastern’s requests for information have repeatedly been ignored by

the Debtor.

       3.      Some of the inquiries repeatedly posed to the Debtor by Eastern seek information

pertaining to the Debtor’s monthly budget, so that a cash collateral agreement (which has been

contemplated with the Debtor’s former counsel since November 2013 and current counsel) may be

finalized and completed.

       4.      In addition, Eastern has repeatedly inquired as to the nature of the relationship

between the Debtor and RTI and PTL and Quality, all three of whom either are, or were tenants at

the Property. In addition, Eastern has been attempting to better understand how exactly the

Debtor’s real property is being used and operated on a daily basis.

       5.      Notwithstanding the fact that this Court entered an Order permitting the Debtor to

retain Kurtzman Matera, P.C., (“Matera”) instead of Penachio & Malara LLP (“Penachio”), on

February 23, 2015 [ECF No. 81], Eastern’s requests for information continue to go ignored by the

Debtor.

       6.      As a result, Eastern hereby seeks the entry of an Order pursuant to Rules 2004 and

9016 of the Bankruptcy Rules, authorizing and directing the examination of the Debtor and its

tenants, under oath, and the production and turnover of certain records and documents that are in

the Debtor’s possession, custody or control.

                     JURISDICTION AND STATUTORY PREDICATES

       7.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).



                                                 2
13-23532-rdd     Doc 82    Filed 03/24/15 Entered 03/24/15 22:26:05         Main Document
                                        Pg 3 of 12


       8.     The statutory predicates for the relief requested herein are § 105(a) of the

Bankruptcy Code and Bankruptcy Rules 2004 and 9016.

                                         BACKGROUND

The Loan

       9.     On or about November 14, 2003, Eastern made a loan (the “Loan”) to DD&S, LLC

(“DD&S”), encumbering the real property commonly known as 225 Railroad Avenue, Bedford

Hills, New York (the “Property”) in the principal sum of $800,000.00 as evidenced by a

Consolidated Secured Promissory Note (the “Note”) which was duly executed by DD&S and

Hoboken, LLC (“Hoboken”) and delivered to Eastern. A copy of the Note is annexed hereto as

Exhibit “A”

       10.    As security for the Note, on November 14, 2003 DD&S duly executed and delivered

that certain Mortgage, Consolidation and Extension Agreement, Assignment of Lease and Rents,

and Security Agreement (the “Mortgage”). A copy of the duly executed Mortgage is annexed

hereto as Exhibit “B”.

       11.    To further secure the indebtedness evidenced by the Note, DD&S’s Manager, Joseph

Savino (“Savino”) duly executed and delivered a personal Guarantee (the “Guarantee”) dated

November 14, 2003 in favor of Eastern.

The Debtor’s Connection with the Property

       12.    Without Eastern’s knowledge or permission, DD&S conveyed the Property to the

Debtor by deed dated July 7, 2005 (the “Deed”), which conveyance was explicitly subject to the

Mortgage.




                                              3
13-23532-rdd       Doc 82      Filed 03/24/15 Entered 03/24/15 22:26:05          Main Document
                                            Pg 4 of 12


       13.     Despite the conveyance of the Property to the Debtor, monthly debt service

payments under the Note and Mortgage continued.

The Default

       14.     The when the monthly debt service payment due on October 1, 2010, and all

subsequent such payments, were not remitted to Eastern (the “Default”).

The Chapter 11 Filing

       15.     The Debtor filed its petition (the “Petition”) for Chapter 11 bankruptcy relief on

September 13, 2013.

       16.     In connection with this matter, the Debtor through the monthly operating reports it

has filed, appears to have entered into leases with a RTI and PTL (since May 1, 2014). Certain

operating reports filed by the Debtor further indicate that Quality previously was a tenant at the

Property, but that it left the Property in June 2014. At no point during this case has the Debtor

sought Court approval of any leases with any tenants.

       17.     Curiously, certain operating reports filed by the Debtor indicate that RTI will

increase the amount of rent it pays (if needed) on 7/1/14 to cover adequate protection payments to

Eastern.

       18.     Notably, at the hearing held on March 19, 2014, Paul Simon (“Simon”) appeared on

behalf of the Debtor, and indicated that he is the comptroller of the operating company that occupies

the Property. It is unclear which company he was referring exactly and there has been no further

clarification on the matter.




                                                 4
13-23532-rdd      Doc 82      Filed 03/24/15 Entered 03/24/15 22:26:05          Main Document
                                           Pg 5 of 12




The Single Asset Real Estate Designation

         19.   By Stipulation and Order Designating the Debtor Single Asset Real Estate Pursuant

to 11 U.S.C. § 101(51B) (the “SARE Order”), the Debtor was designated Single Asset Real Estate,

which Order was entered by this Court on December 5, 2013 [docket item 19].

         20.   Pursuant to the designation, the Debtor was required to either file a plan of

reorganization that had a reasonable possibility of being confirmed within a reasonable time

between the date the Order was entered and January 4, 2014, or commence making payments to

Eastern by January 4, 2014.

         21.   The Debtor failed to take certain actions required of it in connection with the SARE

Order.

Motions for Relief

         22.   When the Debtor failed to take certain actions required of it in connection with the

SARE Order, on February 19, 2014 Eastern moved for relief from the automatic stay (“Eastern’s

Motion”) [ECF No. 21] pursuant to 11 U.S.C. § 362(d)(3) and in connection therewith a hearing

was held on March 19, 2014.

         23.   On March 5, 2014, PALFAM Equities, LLC (“Palfam”) an alleged second position

mortgagee on the Property filed its own motion for relief from the automatic stay.

         24.   On March 19, 2014, in connection with Eastern’s Motion, the Court attempted to

resolve Eastern’s Motion by, inter alia, specifically directing (a) the Debtor to make payments to

Eastern by a date certain, with monthly payments to follow and (b) Debtor’s counsel to prepare a

conditional order that was agreeable to Eastern which was consistent with the Court’s ruling.



                                                5
13-23532-rdd       Doc 82     Filed 03/24/15 Entered 03/24/15 22:26:05          Main Document
                                           Pg 6 of 12


        25.    In addition, the Court directed the Debtor to supply Eastern with a budget to be used

in connection with a cash collateral agreement. To date, the Debtor has failed to comply with each

of the aforementioned directives given by the Court.

        26.    Repeated requests to Debtor’s counsel by Eastern for the conditional order and

budget went ignored by the Debtor, as well as requests for the Debtor’s cooperation with approving

a conditional order prepared by Eastern to be approved by the Debtor and submitted to the Court.

        27.    After the March 19, 2014 hearing, the Debtor failed to make any payments for

property taxes during the 2014 year, and has failed to make a payment to Eastern since December

2014.

United States Trustee’s Motion to Dismiss or Convert

        28.    On July 3, 2014, the Office of the United States Trustee (“UST”) moved this Court

to dismiss or convert this case (the “UST’s Motion”). In connection with the UST’s Motion, a

hearing was held on September 23, 2014.

        29.    Although Palfam joined in the UST’s Motion, however the UST’s Motion similarly

fails to indicate that it was either granted or denied in any regard.

Debtor’s Motion to Reclassify

        30.    On July 9, 2014, the Debtor filed its own application to reclassify Palfam’s second

mortgage claim as an unsecured obligation. Although a hearing was held in connection therewith

on September 23, 2014, upon information and belief, no evidentiary hearing or adjourned date has

been scheduled by the parties as directed by the Court, and Eastern is aware of no explanation for

this delay.




                                                  6
13-23532-rdd        Doc 82     Filed 03/24/15 Entered 03/24/15 22:26:05           Main Document
                                            Pg 7 of 12


The Debtor Obtains New Counsel

       31.        On December 30, 2014, Penachio moved this Court to become relieved as counsel

to the Debtor citing the Debtor’s failure and/or refusal to communicate with counsel as the basis

for the motion.

       32.        On February 23, 2015, this Court entered an Order authorizing Matera to act as

counsel to the Debtor.

                                       THE APPLICATION

       33.        Eastern’s instant Application, pursuant to Bankruptcy Rule 2004 seeks an Order of

this Court, substantially in the form of the proposed order (the “Proposed Order”) annexed hereto

compelling the examination under oath of the Debtor and its tenants, including, without limitation,

RTI and PTL and Quality and for the production of certain records and documents by the Debtor

including (i) production of the documents specified in Eastern Savings Bank, fsb’s Subpoena and

First Demand for the Production of Documents and Information (a copy of which is annexed hereto

as Exhibit “C”); (ii) directing the Debtor to appear for a deposition; (iii) and further directing any

tenants at the Property, including, without limitation, the Tenants, to appear for depositions, should

such depositions be needed.

       34.        Rule 2004 provides “[o]n motion of any party in interest the court may order the

production of documents with regard to the liabilities and financial condition of the debtor or to any

matter which may affect the administration of the debtor’s estate . . . .” FED. R. BANKR. P. 2004;

see Martin v. Keybank of New York, 208 B.R. 807, 810 (N.D.N.Y. 1997) (observing the “general

rule that the scope of a Rule 2004 examination is very broad and great latitude of inquiry is

ordinarily permitted” (citation omitted)); See Simon v. FIA Card Services, N.A., 732 F.3d 259,



                                                  7
13-23532-rdd        Doc 82      Filed 03/24/15 Entered 03/24/15 22:26:05                  Main Document
                                             Pg 8 of 12


C.A.3 (N.J. 2013); See also In re CENA’s Fine Furniture, Inc., 109 B.R. 575, 577 n.2 (E.D.N.Y.

1990) (“The scope of a Rule 2004 examination is unfettered and broad . . . . Examinations under

Rule 2004 are allowed for the purpose of discovering assets and unearthing frauds.” (citation

omitted)); See In re Valley Forge Plaza Assoc., 109 B.R. 669, 674 (Bankr.E.D.Pa.1990) (noting

that Rule 2004 examinations have “been likened to a . . . ‘fishing expedition’ into general matters

and issues regarding the administration of the bankruptcy case” (citations omitted)).

        35.     In this case, Eastern is seeking financial information from the Debtor and its Tenants

for several reasons. First, the Debtor’s Petition and Schedules fails to indicate that the Debtor has

placed any value for any of the Debtor’s assets, while asserting that the Debtor possesses liabilities

of $1,600,000.00.

        36.     Furthermore, the Debtor’s Petition indicates the value of the Debtor’s Property is

unknown1 and the Debtor does not own any personal property at all. Moreover, the Debtor fails

to indicate that it has any unsecured obligations whatsoever, which is contradicted by the claims

filed in the Court’s Claims Register.

        37.     In addition, pursuant to the Debtor’s schedules, the Debtor believes that its

obligation to Eastern is approximately $800,000.00.2

        38.     With respect to the Debtor’s income, the Debtor’s monthly operating reports

(“MOR’s”) indicate that the Debtor is receiving approximately $11,618.00 monthly from its tenants

which does not appear to be enough money for the Debtor to cover its monthly obligations (which

may not accurately be reflected on the Debtor’s Cash Flow analyses) as included with its MOR’s.



1 In connection with a motion brought by the Debtor, the Debtor identified the value of the Property to be
$1,000,000.00.
2 Notably, on December 18, 2013 Eastern identified its claim against the Debtor’s Property to be $1,547,969.64.

                                                      8
13-23532-rdd       Doc 82     Filed 03/24/15 Entered 03/24/15 22:26:05               Main Document
                                           Pg 9 of 12


        39.     Curiously, the MOR’s repeatedly indicate that in the event that the Debtor shall

cover any shortfall of the Debtor each month. Notwithstanding, the Debtor has failed to tender

any payments to Eastern since December 2014.

        40.     In addition, it is unclear whether and how much the Debtor’s principals are being

compensated. Accordingly, Eastern is entitled to obtain disclosure in the form of documents and

testimony from the Debtor, and its Tenants, regarding the sources of the Debtor’s income and

expenses.

        41.     Similarly, and in light of the fact that there does not appear to be any contested

matters between Eastern and the Debtor, Eastern should be afforded the opportunity to examine the

Debtor with respect to its financial history, assets, liabilities, partnerships, third-party affiliations

and corporate structure.

        42.     Accordingly, Eastern respectfully requests that this Court enter an Order directing

the Debtor (and to the extent necessary, the Tenants at the Property) to produce records, documents

and electronic files, which are more precisely set forth in the Proposed Order annexed to this

Application and which are in the Debtor (and possibly the Debtor’s Tenants) possession, custody

or control.

        43.     Under the Proposed Order, responsive documents are to be turned over to counsel

for Eastern by the date set forth in the subpoena issued in accordance with Federal Rule of Civil

Procedure 45, made applicable by Bankruptcy Rules 9016 and 2004 (the “Subpoena”). The

Subpoena shall provide the Debtor and the Tenants with not less than twenty (20) days for

production of documents following service of the Subpoena.




                                                   9
13-23532-rdd         Doc 82   Filed 03/24/15 Entered 03/24/15 22:26:05             Main Document
                                          Pg 10 of 12


        44.     Eastern submits that the oral examination of an officer, director, equity holders, co-

debtors, affiliate or such other person with authority and knowledge of the Debtor’s financial affairs

and transactions, under oath, is necessary in order to investigate the Debtor’s pre and post-petition

financial affairs.

        45.     Examinations under Bankruptcy Rule 2004 include within their scope, inter alia,

any matter that may relate to the property and assets of the estate; the financial condition of the

debtor; any matter that may affect the administration of a debtor’s estate; and, any matter relevant

to the case or to the formation of a plan. See, Fed. R. Bankr. P. 2004(a), (c) and (d).

        46.     The discovery sought by this Application goes directly to the acts, conduct and

administration of the Debtor’s estate including but not limited to the Debtor’s income, expenses,

partnerships, co-debtors and various third parties, including, without limitation, the Debtor’s

Tenants at the Property.

        47.     Specifically, Eastern seeks information, inter alia, relating to the pre-petition

financial history of the Debtor, as well as the post-petition ability of the Debtor, in connection with

the Debtor’s ability to fund any plan that would permit it to emerge from bankruptcy.

        48.     Accordingly, the requested discovery is directly related to the “acts, conduct or

property or to the liabilities of the Debtor’s estate” and is appropriate under Bankruptcy Rule 2004.

        49.     Lastly, Eastern respectfully requests permission to serve the annexed Proposed

Order and Subpoenas accordance with Federal Rule of Civil Procedure 45, by First Class Mail upon

the Debtor at its last known address as indicated on its Chapter 11 petition, its counsel and the

Tenants be deemed good and proper service of such Proposed Order and Subpoenas.




                                                 10
13-23532-rdd       Doc 82     Filed 03/24/15 Entered 03/24/15 22:26:05           Main Document
                                          Pg 11 of 12


                                     RESERVATION OF RIGHTS

        50.     Eastern expressly reserves its right to amend or supplement this Motion, to introduce

evidence supporting this Motion at the hearing on the Motion, and to file additional and

supplemental objections as Eastern deems advisable.

                                                 NOTICE

        51.     Notice of this Motion has been provided to the Office of the United States Trustee,

to the Debtor, to the Debtor’s counsel, the Tenants at the Property, and those parties entitled to

notice in this chapter 11 case. In light of the nature of the relief requested, Eastern respectfully

submits that no other or further notices need be provided.

        52.     No previous application for the relief sought herein has been filed before this Court

in this case.




                                                 11
13-23532-rdd      Doc 82     Filed 03/24/15 Entered 03/24/15 22:26:05           Main Document
                                         Pg 12 of 12


       WHEREFORE, Eastern respectfully requests that this Court grant its Application in its

entirety, enter an Order pursuant to Rules 2004 and 9016 of the Bankruptcy Rules, authorizing and

directing the examination of the Debtor, and its Tenants, including without limitation, RTI and PTL

and Quality, under oath, and the production and turnover of certain records and documents that are

in the Debtor and/or the Tenants’ possession, custody or control, and for such other and further

relief as this Court deems just and proper.



Dated: March 24, 2015
     New York, New York

                                                    KRISS & FEUERSTEIN LLP
                                                    Attorneys for Eastern Savings Bank, fsb.

                                                    s/ Jason S. Leibowitz
                                                    Jerold C. Feuerstein, Esq. (JF9829)
                                                    Jason S. Leibowitz, Esq. (JL6718)
                                                    360 Lexington Avenue, Suite 1200
                                                    New York, New York 10017
                                                    (212) 661-2900 – telephone
                                                    (212) 661-9397 – facsimile


To:




                                               12
